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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

 In re                                         Chapter 11

 MALLINCKRODT, PLC, et al.,                    Case No. 20-12522 (JTD)

                     Debtors.                  (Jointly Administered)

 ATTESTOR LIMITED and
 HUMANA INC.,

                     Appellants,
                                               Case No. 21-cv-01780 (TLA)
                     v.

 MALLINCKRODT, PLC, et al.,

                     Appellees.



                          STIPULATION FOR DISMISSAL

         Pursuant to Rule 8023 of the Federal Rules of Bankruptcy Procedure, the

parties hereby stipulate to the dismissal of this appeal with prejudice, with each party

to bear its own attorneys’ fees and costs. Appellants represent that all costs and fees

due have been paid to the District Court for the District of Delaware.




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Dated: _________, 2023

SO ORDERED this _____ day of __________, 2023.



                                   THE HONORABLE THOMAS L. AMBRO




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